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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CODE REVISION COMMISSION on
behalf of and for the benefit of THE
GENERAL ASSEMBLY OF
GEORGIA, and THE STATE OF
GEORGIA,
           Plaintiff,                       CIVIL ACTION NO.
     v.                                     1:15-CV-2594-RWS
PUBLIC RESOURCE.ORG, INC.

           Defendant.


      PLAINTIFF’S MEMORANDUM IN SUPPORT OF
   PLAINTIFF’S DETAILED REQUEST FOR AN AWARD OF
         ATTORNEYS’ FEES AND OTHER COSTS



                                  Anthony B. Askew (G.A. Bar: 025300)
                                  Lisa C. Pavento (G.A. Bar: 246698)
                                  Warren Thomas (G.A. Bar: 164714)
                                  Meunier Carlin & Curfman LLC
                                  999 Peachtree Street NE, Suite 1300
                                  Atlanta, Georgia 30309
                                  Phone: 404-645-7700
                                  Fax: 404-645-7707
                                  lpavento@mcciplaw.com
                                  taskew@mcciplaw.com
                                  wthomas@mcciplaw.com

                                  Counsel for the Plaintiff, Code Revision
                                  Commission on behalf of and for the benefit
                                  of the General Assembly of Georgia, and the
                                  State of Georgia
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I.    INTRODUCTION

      In its Orders of March 23, 2017 and April 7, 2017, this Court granted

Plaintiff’s Motion for Partial Summary Judgment, denied Defendant’s Motion for

Summary Judgment and issued a permanent injunction against Defendant. Dkt.

Nos. 44 and 46. Defendant concedes that Plaintiff is the “prevailing party” in this

action. Dkt. No. 56 at 2. Accordingly, pursuant to Section 505 of the Copyright

Act, the Court may award reasonable attorneys’ fees and costs to Plaintiff. See 17

U.S.C. § 505. Plaintiff requests attorneys’ fees in the amount of $214,532.50 and

costs in the amount of $3,122.59. The fee and cost requests are supported by

detailed declarations with exhibits, including one from Plaintiff’s independent

expert, Lawrence K. Nodine attached hereto as Exhibit 2.

II.   FACTUAL BACKGROUND

      A.     The Proceedings

      Plaintiff and Counterclaim-Defendant the Code Revision Commission, on

behalf of and for the benefit of the General Assembly of Georgia, and the State of

Georgia (“Commission”) filed its original Complaint against Defendant and

Counterclaim-Plaintiff Public.Resource.Org, Inc. (“Public Resource”) on July 21,

2015. Dkt. No. 1. The Complaint was based on Public Resource’s deliberate

copying and distribution of hundreds of OCGA volumes and supplements, those

distributed copies even including the front cover of the OCGA bearing the official



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seal of the State of Georgia. Plaintiff’s Statement of Undisputed Material Facts,

Dkt. No. 30-2 (SUMF1); ¶¶ 32, 39–45, 48, 54, 56; Stipulation of Facts (Stip.) ¶¶

34, 37, 40, 44, 46–55; Def’s S/J Brief at 17–18. After deliberately copying and

distributing on the internet the hundreds of OCGA volumes and supplements,

Public Resource delivered a thumb drive of OCGA copies and a letter stating that

Public Resource was “pleased” to provide such evidence of copying to Honorable

David Ralston, then Speaker of the House, Georgia House of Representatives and

Mr. Wayne Allen, Office of Legislative Counsel. SUMF1 ¶ 46; Stip. ¶ 63.

Commission responded with several cease and desist letters, advising Public

Resource that its actions constituted copyright infringement. SUMF1 ¶¶ 87–89;

Stip. ¶¶ 69–71. Public Resource refused to cease and desist, stating that its

copying was an “unimpeachable act” and “strongly encourag[ing Commission] to

discuss the issue with the people of Georgia.” SUMF1 ¶ 86; Stip. ¶ 68; Dkt. No.

17-4.

        As evidenced by Commission’s initial Complaint, Commission undertook

detailed research of Public Resource and Mr. Malamud prior to filing suit.

Commission determined that:

         Mr. Malamud had a long history of trying to control the accessibility of

        government documents (Dkt. No. 1 ¶¶ 18, 19, Stip. ¶¶ 59, 60 providing a

        few examples of that long history);


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       Public Resource had initiated a formal campaign to copy the OCGA and

      solicited funds in this regard (Dkt. No. 1 ¶ 20; Stip. ¶¶ 42, 43);

       Public Resource had distributed OCGA copies on multiple websites

      using language that falsely indicated Public Resource was the rightful owner

      of the OCGA (Dkt. No. 1 ¶ 17, Stip. ¶¶ 56, 57);

       Copies of the OCGA that were distributed by Public Resource had

      already been downloaded or viewed thousands of times (Dkt. No. 1 ¶ 17,

      Stip. ¶ 55); and

       Public Resource had similarly targeted other states (Dkt. No. 1 ¶ 20),

      which led Commission to confer with those other states.

Commission’s initial Complaint further reflects its pre-Complaint preparation and

anticipation of Commission’s legal positions throughout this proceeding—that

preparation being based on Public Resource’s positing of its legal arguments in

prior letters to Commission and others, prior publications, and prior court

submissions. See, e.g., SUMF ¶ 86; Stip. ¶ 68; Am. Soc'y for Testing & Materials

v. Public Resource.org, Inc., No. 13-CV-1215 (TSC), 2017 WL 473822 (D.D.C.

Feb. 2, 2017); Am. Educational Research Assoc. v. Public Resource.org, Inc., No.

14-CV-0857 (TSC), 2017 WL 473822 (D.D.C. Feb. 2, 2017).

      After Commission filed its initial Complaint, Public Resource copied and

distributed the entirety of the 2015 OCGA volumes and supplements (SUMF1 ¶


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39; Stip. ¶ 46), requiring Commission to prepare and file an Amended Complaint

on October 8, 2015 that added the 2015 OCGA volumes and supplements. Dkt.

No. 11. It was also necessary for Commission to prepare an Answer (Dkt. No. 10)

to Public Resource’s Counterclaim for a declaratory judgment that Public Resource

did not infringe Commission’s copyrights, which included a request for a jury trial

(Dkt. No. 6). That Counterclaim contained ten pages of alleged facts to which

Commission had to respond—the following being representative:

      On December 12, 2012, Mr. Malamud was appointed as a member of
      the Administrative Conference of the United States, a federal agency
      that “promotes improvements in the efficiency, adequacy, and fairness
      of the procedures by which federal agencies conduct regulatory
      programs, administer grants and benefits, and perform related
      governmental functions.” Mr. Malamud was a member of the
      committee that held hearings and drafted ACUS Recommendation
      2011-5, “Incorporation by Reference.” Mr. Malamud also was one of
      the signatories of a petition to the Office of the Federal Register that led
      to a rulemaking procedure that was initiated in 78 Federal Register
      60784 and Federal Docket OFR-2010-0001. This led to a change in the
      procedures specified by incorporation by reference in 1 CFR Part 51 in
      a final rule that was published November 7, 2014, in 79 FR 66267.

Dkt. No. 6 ¶ 20.

      The growth of the Internet provides a tremendous opportunity for
      government to inform its citizens in a broad and timely manner about
      the laws they must follow in carrying out their daily activities. It also
      allows business enterprises, university professors and students, non-
      profits and citizens to better organize and use this information.

Dkt. No. 6 ¶ 28. In view of the fact that damages were not requested in the

Complaint, Public Resource later withdrew its jury demand following



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discussions with Commission. Dkt. No. 12, p. 11.

      In the initial discovery conference between the parties, Commission

inquired as to Public Resource’s amenability to preparing and filing a

Stipulation of Facts. Public Resource indicated that it was open to following

Commission’s suggested course of action, and during discovery, Commission

prepared the first draft of an extensive Stipulation of Facts that contained 89

stipulations. For more than two months, the parties negotiated regarding the

Stipulation of Facts while also attempting to negotiate settlement of the

lawsuit. The final Stipulation of Facts contained a total of 96 stipulations, 7

more than the initial draft. See Dkt. No. 17.

      Commission and Public Resource exchanged interrogatories and

document requests. Documents produced by Public Resource being

designated as PRO0001 through PRO001433. As plaintiff in this action,

Commission prepared first drafts of the Joint Preliminary Report and

Discovery Plan (Dkt. No. 12) and the Joint Motion for and Proposed

Protective Order (Dkt. No. 18). The finalization of each of those documents

required further negotiation and discussion with Public Resource. On May 17,

2016, both parties filed Motions for Summary Judgment—Commission’s

motion being for partial summary judgment. Dkt. Nos. 29, 30. Commission

further prepared a Response to Public Resource’s Motion for Summary



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Judgment (Dkt. No. 34) and a Reply in Support of Commission’s Motion for

Partial Summary Judgment (Dkt. No. 40). Commission also submitted a

Notice of Filing of Supplemental Authority regarding decisions against Public

Resource in similar actions in the District of Colombia. Dkt. No. 43.

      The Court issued its decision on March 23, 2017, granting Commission’s

Motion for Partial Summary Judgment and denying Public Resource’s Motion for

Summary Judgment. Dkt. No. 44. That decision ordered the parties to submit a

proposed briefing schedule to address injunctive relief. Id. After Commission’s

drafting of a Joint Motion and Proposed Order for Permanent Injunction and

further negotiation between the parties that included Commission’s citation to and

discussion of relevant law, the parties agreed to and filed a Joint Motion and

Proposed Order regarding injunctive relief. See Dkt. No. 45. This Court adopted

that proposed order on April 7, 2017. Dkt. No. 46.

      B.     Commission’s Attorneys, Rates and Hours

      Commission retained Mr. Anthony B. Askew to represent it. Mr. Askew is

an experienced intellectual property trial attorney with over 40 years of litigating

complex cases, including numerous copyright cases. Mr. Askew has been ranked

by Chambers USA in tier one for over five years and has been listed as one of the

Best Lawyers in America for the past ten years. In addition, Mr. Askew has been

named as a Georgia Super Lawyer for more than ten years and as one of the top



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100 lawyers in the State of Georgia. He has served as a member of the University

of Georgia Law School's Advisory Board for the Journal of Intellectual Property

Law and was the co-editor of the Wiley Intellectual Property Law Update for more

than 5 years. Mr. Askew has also served as a member of the adjunct faculty at

Emory University Law School, where he taught courses in Intellectual Property

Law and Intellectual Property Litigation.

      Mr. Askew, a principal at Meunier Carlin & Curfman, worked with and

supervised Mrs. Lisa Pavento (Of Counsel) and Mr. Warren Thomas (Associate) in

this matter. During the course of these proceedings, Mrs. Lisa Pavento was named

a principal at Meunier Carlin & Curfman.

      Mr. Askew and the Commission negotiated a special hourly rate for work on

the case. Although Meunier Carlin & Curfman principals customarily billed clients

in excess of $500/hour for their work, Mr. Askew agreed to represent the

Commission for a heavily discounted hourly rate of $225/hour for every attorney

assigned to the case—senior partners as well as associates. Paralegals billed the

Commission at a heavily discounted rate of $50/hour. The hours for which

Commission requests reimbursement are provided in detailed billing documents

submitted herewith that are accompanied by declarations of Commission’s attorney

Anthony B. Askew (Exhibit 1) and its expert Lawrence K. Nodine (Exhibit 2).

      Commission is requesting attorneys’ fees in the amount of $214,532.50 and



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costs in the amount of $3,122.59.

III.   ARGUMENT AND CITATION TO AUTHORITIES

       Courts in the Eleventh Circuit calculate an award of attorneys’ fees using the

lodestar approach set forth by the Supreme Court in Hensley v. Eckerhart, 461 U.S.

424, 433-37 (1983) and Blum v. Stenson, 465 U.S. 886, 896-97 (1984). Under the

lodestar approach, the starting point in fashioning an award of attorneys’ fees is to

multiply the number of hours reasonably expended by a reasonable hourly rate.

See e.g, Hensley, 461 U.S. at 433; Norman v. Housing Authority of City of

Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988). “The reasonableness of the

attorneys' fee award is [also] controlled by consideration of the Johnson factors.”

Cable/Home Commc'n Corp. v. Network Prods., Inc., 902 F.2d 829, 853 (11th Cir.

1990). The twelve Johnson factors are 1) the time and labor required, 2) the

novelty and difficulty of the questions, 3) the skill requisite to perform the services

properly, 4) the preclusion of other employment by the attorney due to acceptance

of the case, 5) the customary fee, 6) whether the fee is fixed or contingent, 7) the

limitations of time imposed by the client or circumstances, 8) the amount involved

and the results obtained, 9) the experience, reputation and ability of the attorneys

retained, 10) the undesirability of the case, 11) the nature and length of the

professional relationship with the client and 12) awards in similar cases. Johnson v.

Georgia Highway Exp., Inc., 488 F.2d 714, 717-719 (5th Cir. 1974) abrogated by



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Blanchard v. Bergeron, 489 U.S. 87 (1989). Here, the most relevant Johnson

factors (albeit grouped somewhat differently) are 1) the customary fee for the

experience, reputation and ability of the attorneys retained, and 2) the time and

labor required to achieve the results.

      A.     An Hourly Rate of $225/hour is Reasonable and Well Below the
             Customary Fee of the Attorneys Retained
      Commission’s hourly rate was discounted to $225/hour for every attorney

assigned to the case and to $50/hour for every paralegal assigned to the case. Those

rates are substantially less than the prevailing market rates, and therefore, are

reasonable. “A reasonable hourly rate is the prevailing market rate in the relevant

legal community for similar services by lawyers (and paralegals) of reasonably

comparable skills, experience and reputation.” Norman, 836 F.2d at 1299. The

prevailing market rates are the rates that are in line with those prevailing in the

community for similar services by lawyers of comparable skill, experience and

reputation. See e.g., Blum, 465 U.S. at 895, Norman, 836 F.2d at 1299.

      The best evidence of the prevailing market rate is generally the hourly rate

customarily charged by the attorney or law firm applying for fees.1 See, e.g.,



1
  While the best evidence of the prevailing rate is generally the rate actually
charged, this is not always so. “[T]he agreed-upon fee rate does not necessarily act
as a cap or ceiling in determining the reasonable hourly rate.” Tire Kingdom, Inc.
v. Morgan Tire & Auto, Inc., 253 F.3d 1332, 1337 (11th Cir. 2001) (affirming
upward adjustment of negotiated hourly rate to reflect the prevailing market rate).

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Dillard v. City of Greensboro, 213 F.3d 1347, 1354-55 (11th Cir. 2000); National

Assoc. of Concerned Veterans v. Secretary of Defense, 675 F.2d 1319, 1325 (D.C.

Cir. 1982) (“The best evidence would be the hourly rate customarily charged by

the affiant himself or by his law firm.”). Here, the agreed fee between Commission

and its attorneys is less than the prevailing market rates in Atlanta and is far lower

than the rate customarily charged by the attorneys who represented Commission.

Mr. Askew customarily bills far in excess of $225/hour; in fact, more than two

times the agreed rate in this case. Mrs. Pavento’s customary rates are

approximately 1.7 to 2 times the $225/hour rate, whereas Mr. Thomas’ customary

rates are approximately 1.5 to 1.8 times the agreed upon rate.

      The $225/hour rate is particularly low given Mr. Askew’s over 40 years of

experience litigating complex intellectual property matters, including several high

profile copyright cases. This Court previously determined that a reasonable rate for

a similar Atlanta attorney, Mr. Joseph Beck2, was $520/hour. See Broadcast Music,

Inc. v. Boogie Down Prods., Inc., No. CIVA 104-CV-3546-JOF, 2006 WL

2619820, at *3 (N.D. Ga. May 9, 2006). That $520/hour rate was considered

reasonable for hours billed over ten years ago in 2005. Id. at *3. Given the


Commission, however, requests only the hourly rates actually charged by and paid
to its attorneys.
2
  In Broadcast Music, the court explicitly found that Mr. Beck was a partner of
more than 20 years at Kilpatrick Stockton. Broadcast Music, 2006 WL 2619820, at
*3.

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intervening years, it is clear that the rate of $225/hour for Mr. Askew in particular

is less than prevailing market rates and is therefore more than reasonable.

      Commission’s expert, Lawrence K. Nodine, further opines that the

$225/hour rate is reasonable for each of Commission’s attorneys. A reasonable fee

may be supported by opinion evidence of reasonable rates. The opinion should

generally be provided by another attorney familiar with the rates in the relevant

legal community. See, e.g., Norman, 836 F.2d at 1299. Indeed, in the Eleventh

Circuit, the reasonableness of a fee should be supported by more than the

applicant’s own declaration. Norman, 836 F.2d at 1299. Mr. Nodine is an expert in

copyright matters who has served as lead counsel in disputed copyright matters.

With this relevant experience, Mr. Nodine opines that the $225/hour rate is

reasonable and “the rates charged reflect a discount of at least 50% below

prevailing market rates.” Exhibit 2, ¶ 10.

      B.     The Hours Expended Were Reasonable Given the Early and
             Favorable Results Obtained in Favor of Commission

      The hours for which Commission requests reimbursement are provided in

detailed billing documents submitted herewith. Those billing documents and the

declarations of Commission’s attorney Anthony B. Askew (Exhibit 1) and its

expert Lawrence K. Nodine (Exhibit 2) establish the reasonableness of the hours

expended in achieving both summary judgment and a permanent injunction in

favor of Commission.


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      In order to efficiently organize the case, a number of attorneys were

involved. It is well recognized that

      [t]here is nothing inherently unreasonable about a client having
      multiple attorneys, and they may all be compensated if they are not
      unreasonably doing the same work and are being compensated for the
      distinct contribution of each lawyer.

Norman, 836 F.2d at 1302; see also, Jones v. Central Soya Co., 748 F.2d 586, 594

(11th Cir. 1984). A number of junior attorneys and senior attorneys working

together is not unusual where senior attorneys supervise junior attorneys or bring

specialized knowledge of a particular issue. Here, Mr. Askew supervised two more

junior attorneys, Mrs. Pavento and Mr. Thomas.

      Together, Commission’s attorneys have obtained a broad injunction and

summary judgment in favor of Commission by preparing well and early. Such

early preparation was necessary because Public Resource had been strategizing

about and preparing for this litigation long before Commission filed its Complaint.

Public Resource’s legal positions in this case were propounded in its first letter to

representatives of Commission, which “proudly” informed Commission of Public

Resource’s copying of the OCGA. SUMF ¶ 86; Stip. ¶ 68. That letter cited to

Banks v. Manchester, 128 U.S. 244 (1888), Wheaton v. Peters, 33 U.S. (8 Pet.) 591

(1834), Howell v. Miller, 91 F. 129, 137 (6th Cir. 1898), the Copyright

Compendium, and the First Amendment to the U.S. Constitution. Id.

      Public Resource derived its arguments here from the same or similar


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arguments that it has been making for almost the last ten years in prior litigation

proceedings, public pronouncements, and correspondence with other states. See,

e.g., Am. Soc'y for Testing & Materials v. Public Resource.org, Inc., No. 13-CV-

1215 (TSC), 2017 WL 473822 (D.D.C. Feb. 2, 2017); Am. Educational Research

Assoc. v. Public Resource.org, Inc., No. 14-CV-0857 (TSC), 2017 WL 473822

(D.D.C. Feb. 2, 2017); Carl Malamud, AN EDICTS OF GOVERNMENT AMENDMENT,

Testimony of Carl Malamud, Public.Resource.Org, Hearings on Review of U.S.

Copyright Law, January 14, 2014, pp. 8-18, 29-31 (PRO00003-PRO000063)

(Exhibit 3); PRO000651-PRO000653 (May 1, 2014 correspondence from Public

Resource to Delaware Secretary of State) (Exhibit 4); PRO000693-PRO000695

(July 15, 2013 correspondence from Public Resource to Idaho Secretary of State,

among others) (Exhibit 5); PRO000755-PRO000757 (October 11, 2013

correspondence from Public Resource to Special Assistant Attorney General of

Mississippi) (Exhibit 6); PRO000828-PRO000829 (April 15, 2008 correspondence

from Public Resource Counsel to Legislative Counsel of the State of Oregon)

(Exhibit 7); PRO000833-PRO000851 (May 16, 2008 correspondence from Public

Resource Counsel to Legislative Counsel of the State of Oregon threatening the

filing of a declaratory judgment action and including draft complaint) (Exhibit 8).

      Accordingly, Public Resource was likely well-prepared for this litigation

proceeding even before it deliberately copied the OCGA. Its use of the same or



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similar arguments in multiple other proceedings gave Public Resource a “head

start,” presumably reducing the hours it needed to expend in this proceeding. But

Commission had no such advantage. Commission’s early and detailed preparation

in this proceeding was essential to leveling the playing field and achieving a

successful outcome.

      The hours expended by Commission’s attorneys are further reasonable

because they reflect Commission’s deliberate efforts to achieve an early and

favorable summary judgment resolution to the matter. Most importantly,

Commission suggested and prepared a first draft of an extensive Stipulation of

Facts and further negotiated a final Stipulation of Facts that Commission used to

support its successful summary judgment motion.3 See supra section II.A.

Commission also successfully negotiated the parties’ joint filing of a proposed

permanent injunction order, eliminating the need for briefing on the issue. Id.

      Finally, Commission’s hours are reasonable because they have been reduced

prior to submission of Commission’s detailed itemization of attorneys’ fees.

Commission’s attorneys exercised sound billing judgment by “cutting” hours that

were deemed redundant before invoicing Commission. In preparing its detailed

request for fees, and as shown in the invoices submitted herewith, Commission



3
 As plaintiff, Commission took the lead in preparing initial drafts of the
documents filed jointly by the parties. See supra section II.A.

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further removed amounts billed to Commission that relate to tasks not directly

leading to this Court’s summary judgment finding. Those reductions include the

removal of fees billed for discussions and dealings with other states targeted by

Public Resource and Commission’s attorneys’ efforts in obtaining an award of

fees. This post-bill reduction decreased the amount of attorneys’ fees requested by

approximately $50,000, or approximately 20% of Commission’s total billed fees.

      C.     Commission’s Litigation Costs Are Reasonable

      The costs that Commission has included in its request are also reasonable.

An award of attorneys’ fees under Section 505 of the Copyright Act may include

“litigation costs which include reasonable out-of-pocket expenses incurred by the

attorney which are normally charged to fee-paying clients, so long as these costs

are incidental and necessary to the litigation.” Lil’ Joe Wein Music, Inc. v. Curtis

James Jackson, No. 06-20079-CIV, 2008 WL 2688117 at *14 (S.D. Fl. July 1,

2008). These charges include photocopying, computerized legal research costs,

long distance telephone charges, federal express charges, court charges and travel

expenses, facsimile charges and messenger services. See, e.g., id. Plaintiff’s

request for additional costs as a part of its attorneys’ fees fall within these

acceptable categories and amount to $3,122.59. This amount is reasonable.

Plaintiff’s detailed request for costs is detailed in Exhibit 9 attached hereto.




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IV.   CONCLUSION

      For the foregoing reasons, Commission respectfully submits that it should

recover its reasonable attorneys’ fees in the amount of $214,532.50 and costs in the

amount of $3,122.59.



      Respectfully submitted, this 22nd day of May, 2017.

                                          /s/Anthony B. Askew
                                          Anthony B. Askew (G.A. Bar: 025300)
                                          Lisa C. Pavento (G.A. Bar: 246698)
                                          Warren Thomas (G.A. Bar: 164714)
                                          Meunier Carlin & Curfman LLC
                                          999 Peachtree Street NE, Suite 1300
                                          Atlanta, Georgia 30309
                                          Phone: 404-645-7700
                                          Fax: 404-645-7707
                                          taskew@mcciplaw.com
                                          lpavento@mcciplaw.com
                                          wthomas@mcciplaw.com

                                          Counsel for the Plaintiff, Code Revision
                                          Commission on behalf of and for the
                                          benefit of the General Assembly of
                                          Georgia, and the State of Georgia




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that, pursuant to L.R. 5.1C and 7.1D of the Northern District

of Georgia, the foregoing PLAINTIFF’S MEMORANDUM IN SUPPORT OF

PLAINTIFF’S DETAILED REQUEST FOR AN AWARD OF ATTORNEYS’

FEES AND OTHER COSTS complies with the font and point selections approved

by the Court in L.R. 5.1C. The foregoing pleading was prepared on a computer

using 14-point Times New Roman font.




                                      /s/Anthony B. Askew
                                      Anthony B. Askew (G.A. Bar: 025300)
                                      Meunier Carlin & Curfman LLC
                                      999 Peachtree Street NE, Suite 1300
                                      Atlanta, Georgia 30309
                                      Telephone: 404-645-7700
                                      Email: taskew@mcciplaw.com




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                         CERTIFICATE OF SERVICE

      I certify that on May 22, 2017, I electronically filed the foregoing

PLAINTIFF’S MEMORANDUM IN SUPPORT OF PLAINTIFF’S

DETAILED REQUEST FOR AN AWARD OF ATTORNEYS’ FEES

AND OTHER COSTS with the Clerk of Court using the CM/ECF system,

which constitutes service of the filed document on all counsel of record in this

proceeding under LR 5.1(A)(3), N.D. Ga.



                                By:    /s/Anthony B. Askew
                                       Anthony B. Askew (G.A. Bar: 025300)




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